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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 1:20-cv-23564-MGC

   DAVID WILLIAMS and CAROLL
   ANGLADE, THOMAS MATTHEWS,
   MARTIZA ANGELES, and HOWARD
   CLARK, individually and on behalf of all
   others similarly situated,

         Plaintiffs,

   v.

   RECKITT BENCKISER LLC and
   RB HEALTH (US) LLC,

         Defendants.



              DEFENDANTS’ NOTICE REGARDING FULLY EXECUTED
                  FIRST AMENDED SETTLEMENT AGREEMENT
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          On September 13, 2021, Defendants Reckitt Benckiser LLC and RB Health (US) LLC

   (“RB”) filed a Notice Regarding First Amended Settlement Agreement, which included as

   Exhibit A the parties’ First Amended Settlement Agreement and Release (“Amended

   Settlement Agreement”) containing “[a]ll relevant signatures . . . with the exception of one

   (of two) remaining signature from RB, which was unavailable at time of filing for logistical

   reasons.” ECF No. 116, n. 1. The Notice stated that “RB will update its filing promptly with

   that final signature as soon as it is received,” id., and RB hereby submits as Exhibit A to this

   filing the final remaining signature, which was received on September 15, 2021. The

   Amended Settlement Agreement is therefore deemed fully executed as of September 15, 2021.


   Dated: September 15, 2021                                  Respectfully Submitted,

                                                       /s/ Lori P. Lustrin
                                                       Melissa C. Pallett-Vasquez, Esq.
                                                       Florida Bar No.: 715816
                                                       Lori P. Lustrin, Esq.
                                                       Florida Bar. No.: 59228
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                                             Counsel for Defendants
                                             Reckitt Benckiser LLC and RB Health (US) LLC




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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 15, 2021, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF.


                                                  /s/ Lori P. Lustrin
                                                  Lori P. Lustrin




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